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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CONVERSE INC.,
                                                      Case No. 21-cv-05701
               Plaintiff,
                                                      Judge Franklin U. Valderrama
v.
                                                      Magistrate Judge Maria Valdez
THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

               Defendants.


          MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
     ELECTRONIC SERVICE OF PROCESS PURSUANT TO FED. R. CIV. P. 4(f)(3)

        Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiff Converse Inc. (“Plaintiff” or

“Converse”) requests this Court’s authorization to serve process by electronically publishing a link

to the Complaint, the Temporary Restraining Order, and other relevant documents on a website

and by sending an e-mail to the e-mail addresses identified in Exhibit 3 to the Declaration of Joe

Pallett and any e-mail addresses provided for Defendants by third parties that includes a link to

said website. Converse submits that providing notice via electronic publication and e-mail, along

with any notice that Defendants receive from payment processors, is reasonably calculated under

all circumstances to apprise Defendants of the pendency of the action and afford them the

opportunity to present their objections.

        Electronic service is appropriate and necessary in this case because offshore e-commerce

store operators offering for sale products using counterfeit trademarks typically: (1) provide false,

misleading and/or incomplete names and physical address information to conceal their locations

and avoid liability for their unlawful conduct; and (2) rely primarily on electronic communications

to communicate with their third party service providers and customers, demonstrating the
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reliability of this method of communication by which Defendants may be apprised of the pendency

of this action. See Declaration of Justin R. Gaudio (the “Gaudio Declaration”) at ¶ 2. Authorizing

service of process solely via e-mail and electronic publication will benefit all parties and the Court

by ensuring that Defendants receive prompt notice of this action, thus allowing this action to move

forward expeditiously. Absent the ability to serve Defendants in this manner, Converse will almost

certainly be left without the ability to pursue a final judgment.

       An investigation of the e-commerce stores operating under the Seller Aliases identified in

Schedule A to the Complaint shows that few, if any, provide a physical address on the e-commerce

store. Gaudio Declaration at ¶ 3. In most instances, Defendants must provide an e-mail address

and physical address to third-party online marketplace platforms such as Amazon, eBay,

AliExpress, Alibaba, Wish.com, and Dhgate when registering their account. Id. However, unlike

an e-mail address, which is typically verified by the third-party online marketplace platforms, no

verification typically occurs for physical addresses. Id. Since an e-commerce store operator can

input any physical address, such addresses are usually false and/or are not where the e-commerce

store operator is located. Id. As such, even if a physical address is available, it is not a reliable

means for identifying and locating Defendants. Id.

       In addition, e-commerce store operators must provide a valid e-mail address to customers

for completing payment and/or managing their e-commerce stores. Moreover, it is necessary for

merchants, such as Defendants, who operate entirely online, to visit their e-commerce store to

ensure it is functioning and to communicate with customers electronically. As such, it is far more

likely that Defendants can be served electronically than through traditional service of process

methods.




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        Federal Rule of Civil Procedure 4(f)(3) allows this Court to authorize service of process by

any means not prohibited by international agreement as the Court directs. Gianni Versace, S.P.A.

v. Yong Peng, et al., No. 18-cv-5385 (N.D. Ill. Feb. 27, 2019) citing Rio Props., Inc. v. Rio Int’l

Interlink, 284 F.3d 1007, 1014 (9th Cir. 2002). The Ninth Circuit in Rio Properties held, “without

hesitation,” that e-mail service of an online business defendant “was constitutionally acceptable.”

Id. at 1017. The Court reached this conclusion, in part, because the defendant conducted its

business over the Internet, used e-mail regularly in its business, and encouraged parties to contact

it via e-mail. Id.

        Converse has good cause to suspect the Defendants are all residents of China and/or Hong

Kong. The People’s Republic of China is a signatory to the Hague Convention on the Service

Abroad of Judicial and Extra-Judicial Documents in Civil and Commercial Matters (the “Hague

Convention”). Gaudio Declaration at ¶ 4.

        According to Article 1 of the Hague Convention, the “convention shall not apply where

the address of the person to be served with the document is not known.” Id. United States District

Courts, including Courts in this District, routinely permit alternative service of process

notwithstanding the Hague Convention. See e.g., Gianni Versace, S.P.A. v. Yong Peng, et al., No.

18-cv-5385 (N.D. Ill. Feb. 27, 2019) (“Nor must Versace attempt service by contacting the Chinese

Ministry of Justice, as suggested by [defendant]. The plain language of Rule 4 requires only that

service be made as directed by the court and not prohibited by international agreement.”); In re

Potash Antitrust Litig., 667 F. Supp. 2d 907, 930 (N.D. Ill. 2009) (“plaintiffs are not required to

first attempt service through the Hague Convention.”); see also, Strabala v. Zhang, 318 F.R.D. 81,

114 (N.D. Ill. 2016) (authorizing alternative service pursuant to Fed. R. Civ. P. 4(f)(3)); Sulzer

Mixpac AG v. Medenstar Indus. Co., 312 F.R.D. 329, 331-32 (S.D.N.Y. 2015) (same); In re LDK



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Solar Securities Litigation, 2008 U.S. Dist. LEXIS 90702, at *11 (N.D. Cal. June 12, 2008) (same);

Williams-Sonoma Inc. v. Friendfinder Inc., 2007 U.S. Dist. LEXIS 31299, at *5-7 (N.D. Cal. Apr.

17, 2007) (same); Levi Strauss & Co., v. Zhejiang Weidu Garment Co., Ltd. et al., No. 16-cv-7824

(N.D. Ill. Nov. 17, 2016) (unpublished) (same). The Hague Convention also does not preclude

service by e-mail. Gaudio Declaration at ¶ 4. See e.g., Lexmark Int'l, Inc. v. Ink Techs. Printer

Supplies, LLC, 295 F.R.D. 259, 261 (S.D. Ohio 2013) (“[v]arious courts have agreed that service

by email is not prohibited by the Hague Convention”); Facebook, Inc. v. Banana Ads, LLC, 2012

U.S. Dist. LEXIS 42160, at *6–7 (N.D. Cal. Mar. 27, 2012) (citing cases where court held that

service by e-mail did not violate the Hague Convention as to foreign defendants, including in

China).

          Furthermore, Rule 4 does not require that a party attempt service of process by other

methods enumerated in Rule 4(f) before petitioning the court for alternative relief under Rule

4(f)(3). Rio Props., 284 F.3d at 1014-15. As the Rio Properties Court explained, Rule 4(f) does

not create a hierarchy of preferred methods of service of process. Id. at 1014. To the contrary, the

plain language of the Rule requires only that service be directed by the court and not be prohibited

by international agreement. There are no other limitations or requirements. Id. Alternative service

under Rule 4(f)(3) is neither a “last resort” nor “extraordinary relief,” but is rather one means

among several by which an international defendant may be served. Id. Likewise, Courts have

confirmed that the Hague Convention does not displace Rule 4(f)(3). See Gianni Versace, S.P.A.

v. Yong Peng, et al., No. 18-cv-5385 (N.D. Ill. Feb. 27, 2019) citing Nagravision SA v. Gotech

Int’l Tech. Ltd., 2018 U.S. App. LEXIS 2976 (5th Cir. 2018) (“Overlooking Rule 4(f)(3) entirely,

Gotech argues that the service did not comply with the Hague Convention and Rule 4(f)(1). This

argument misses the mark because service was not effected pursuant to the Hague Convention,



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and that agreement does not displace Rule 4(f)(3).”). Finally, Court-directed electronic service

pursuant to Rule 4(f)(3) is particularly appropriate in this case where "there is a need for speed that

cannot be met by following the Hague Convention methods…” because of the injunctive relief

sought by Plaintiff. Strabala v. Zhang, 318 F.R.D. 81, 114 (N.D. Ill. 2016) citing 4B FED. PRAC.

& PROC. CIV. § 1134 (4th ed.). As such, this Court may allow Converse to serve the Defendants

via electronic publication and e-mail.

       For the reasons set forth herein, Converse respectfully requests this Court’s permission to

serve Defendants via e-mail and electronic publication. In accordance with this request, the

proposed Temporary Restraining Order includes authorization to serve Defendants electronically

and provides for issuance of a single original summons1 in the name of “The Partnerships and all

other Defendants identified in the Complaint” that shall apply to all Defendants in accordance with

Federal Rule of Civil Procedure 4(b).

Dated this 1st day of November 2021.           Respectfully submitted,

                                               /s/ Justin R. Gaudio
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                                               Justin R. Gaudio
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                                               Counsel for Plaintiff Converse Inc.


1
  The Advisory Committee Notes to the 1993 Amendment to Rule 4(b) states, “If there are multiple
defendants, the plaintiff may secure issuance of a summons for each defendant, or may serve copies of a
single original bearing the names of multiple defendants if the addressee of the summons is effectively
identified.” Fed. R. Civ. P. 4(b) advisory committee notes (1993) (emphasis added).

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